 Case 2:17-cv-00989-DSF-SK Document 179-2 Filed 04/29/19 Page 1 of 2 Page ID #:3703



 1   John E. Lord (Bar No. 216111)
     Email: jlord@onellp.com
 2   ONE LLP
     9301 Wilshire Blvd.
 3   Penthouse Suite
     Beverly Hills, CA 90210
 4   Telephone: (310) 866-5157
     Facsimile: (310) 943-2085
 5
     Amanda G. Hyland (admitted pro hac vice)
 6   Email: ahyland@taylorenglish.com
     William Scott Creasman (admitted pro hac vice)
 7   Email: screasman@taylorenglish.com
     Seth K. Trimble (admitted pro hac vice)
 8   Email: strimble@taylorenglish.com
     TAYLOR ENGLISH DUMA LLP
 9   1600 Parkwood Circle, Suite 400
     Atlanta, GA 30339
10   Telephone: (770) 434-6868
     Facsimile: (770) 434-7376
11
12   Counsel for Defendants
     Big Bang Vape Co., LLC, Unified Vape Distribution,
13   Inc., True Lab Creations, Inc., and Taylor Craig
14
                               UNITED STATES DISTRICT COURT
15
                              CENTRAL DISTRICT OF CALIFORNIA
16
                                     WESTERN DIVISION
17
18   MIKE SARIEDDINE, an individual               Case No. 2:17-cv-00989-DSF-SK
                                                  Hon. Dale S. Fischer
19               Plaintiff,
                                                  DECLARATION OF AMANDA G.
20         v.                                     HYLAND IN SUPPORT OF
      s                                           DEFENDANTS’ MOTION TO STAY
21   BIG BANG VAPE CO., LLC, a Georgia
     limited liability company; UNIFIED VAPE
22   DISTRIBUTION, INC., a Georgia
     corporation; TRUE LAB CREATIONS,             Date:     June 3, 2019
23   INC. a Georgia corporation; TAYLOR           Time:     1:30 p.m.
     CRAIG, an individual; and DOES 1 through     Crtrm.:   7D
24   10, inclusive,
25               Defendants.
26
     AND RELATED COUNTERCLAIMS.
27
28

                                DECLARATION OF AMANDA G. HYLAND
 Case 2:17-cv-00989-DSF-SK Document 179-2 Filed 04/29/19 Page 2 of 2 Page ID #:3704



 1                         DECLARATION OF AMANDA G. HYLAND
 2         I, Amanda G. Hyland, declare as follows:
 3         1.     I am a partner with the law firm of Taylor English Duma, LLP. I am counsel
 4   for all the Defendants in this case.
 5         2.     Attached hereto as Exhibit A is a true and correct copy of Judge Anderson’s
 6   Order from Sarieddine v. Alien Visions E-Juice, Inc., et al.; Case No. 2:18-cv-3658-PA-
 7   MAA (“Alien Visions Case”), granting Alien Visions E-Juice, Inc.’s motion for summary
 8   judgment.
 9         3.     Attached hereto as Exhibit B is a true and correct copy of a joint stipulation
10   entered in the Alien Visions Case.
11         4.     Attached hereto as Exhibit C is a true and correct copy of the Final Order
12   entered in the Alien Visions Case and cancelling U.S. Trademark Registration Nos.
13   4,517,249 and 4,997,336.
14         5.     I spoke with Plaintiff’s counsel on April 19, 2019, and he informed me that
15   Plaintiff will appeal Judge Anderson’s Order.
16
17         Executed this 25th day of April, 2019, in Atlanta, Georgia.
18
19
20                                                 Amanda G. Hyland
21
22
23
24
25
26
27
28
                                               1
                               DECLARATION OF AMANDA G. HYLAND
